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Attorneys for Plaintiff, SCANNING TECHNOLOGIES INNOVATIONS LLC

                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH

SCANNING TECHNOLOGIES                 §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §               Case No:
                                      §
vs.                                   §               PATENT CASE
                                      §
FISHBOWL SOLUTIONS, LLC,              §
                                      §
      Defendant.                      §
_____________________________________ §


                             ORIGINAL COMPLAINT

      Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations, LLC

(“Plaintiff” or “STI”) files this Original Complaint against Fishbowl Solutions, LLC

(“Defendant” or “Fishbowl”) for infringement of United States Patent No. 10,600,101




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(hereinafter “the ‘101 Patent”).

                                PARTIES AND JURISDICTION

        1.       This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

        2.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

        3.       Plaintiff is a Texas limited liability company having an address of 1801 NE 123

St., Suite 314, Miami, FL 33181.

        4.       On information and belief, Defendant is a Utah limited liability company having

a place of business at 580 Technology Way, Bldg. C, Ste. 2500, Orem, UT 84097. On

information and belief, Defendant may be served through its agent, Dusty Miller, at the same

address.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       Venue is proper in this District 28 U.S.C. §1400(b) because Defendant is deemed

to reside in this District. Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.




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                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)

       8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.      Plaintiff is the owner by assignment of the ‘101 Patent with sole rights to enforce

the ‘101 Patent and sue infringers.

       11.      A copy of the ‘101 Patent, titled “Systems and Methods for Indicating the

Existence of Accessible Information Pertaining to Articles of Commerce,” is attached hereto as

Exhibit A.

       12.      The ‘101 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       13.      Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘101 Patent by making, using, importing,

selling, and/or offering for sale an inventory management system covered by one or more claims

of the ‘101 Patent. Defendant has infringed and continues to infringe the ‘101 Patent directly in

violation of 35 U.S.C. § 271.

       14.      Defendant sells, offers to sell, and/or uses an inventory system including, without

limitation, the Fishbowl Inventory system, any associated hardware and software, and any

similar products (collectively, “Product”), which infringe at least Claim 1 of the ‘101 Patent.

       15.      The Product provides an application for scanning barcodes to obtain a decoded

link, which contains information about an article of commerce. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.



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       16.     The Product includes a mobile device comprising a portable handheld housing

and a communication interface configured to enable the mobile device to communicate with a

communication network. For example, the Product incorporates a handheld device (e.g., mobile

device with Product software) and a communication interface (i.e. cloud based communication

interface) configured to enable the handheld device to communicate with a communication

network (e.g., cloud network). Certain aspects of this element are illustrated in the screenshots

below and/or those provided in connection with other allegations herein.




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       17.     The Product uses a signal processing device and a visual input device, the visual

input device affixed within the portable handheld housing. For example, a visual input device

(e.g., camera for scanning barcode) and signal processing device (i.e. processor of handheld

device) are affixed within the portable handheld housing (e.g., the housing of the mobile device).

The mobile device camera is used to scan a barcode and, via the Product’s server, obtain details

related to a particular product. Certain aspects of this element are illustrated in the screenshots

below and/or those provided in connection with other allegations herein.




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       18.     The Product comprises digital files associated with the mobile device. For

example, the Product application has digital files (e.g., barcode image files and digital product

information) associated with the mobile device. Certain aspects of this element are illustrated in

the screenshots below and/or those provided in connection with other allegations herein.




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       19.     The Product also includes a server in communication with the communication

network, the server comprising a server database configured to store a look-up table that includes

at least a plurality of bar codes associated with a plurality of articles of commerce. For example,

the Product app communicates with a server through a cloud communication network, the server

comprising look-up table (i.e. remote database). Also, the server database contains barcodes,

each having associated information about a particular article of commerce. Certain aspects of

this element are illustrated in the screenshots below and/or those provided in connection with

other allegations herein.




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       20.     The look-up table also stores a plurality of information link indicators, each

information link indicator associated with a respective bar code and article of commerce. For

example, the look-up table (i.e. remote cloud database accessed by the Product app/software)

also stores a plurality of information link indicators (e.g., link indicating scanned product and/or

validation of scanned barcode details associated with the product) indicating information

associated with a respective barcode. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.




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       21.     Each information link indicator is configured as a status signal indicating the

existence or absence of a link to information pertaining to a respective article of commerce, the

link being made to the information via the communication network.            For example, each

information link which is obtained by scanning a code indicates a status signal (e.g., link

indicating validation of scanned code product and details associated with product). The

information associated with the link is retrieved through the cloud communication network.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




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       22.    The visual input device is configured to scan an image of an article of commerce,

decode the image to obtain a bar code and forward data from the scanned image to the signal

processing device. For example, the visual input device (i.e. handheld device camera) is

configured to scan an image of a barcode associated with an article of commerce. After scanning

the code, the code is decoded using Product software, which may be located on the mobile

device, to retrieve information about the product. The information is forwarded to the signal




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processing device (i.e. processor of mobile device). Certain aspects of this element are illustrated

in the screenshots below and/or those provided in connection with other allegations herein.

       23.     In response to receiving the bar code, the signal processing device (i.e. mobile

device) is configured to look up the code in the look-up table (i.e. remote database) to determine

from a respective information link (e.g., link indicating validation of scanned barcode product)

whether or not information pertaining to an article of commerce associated with the code

(information about the associated product) may be accessed via the communication network.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.

       24.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       25.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       26.     Plaintiff is in compliance with 35 U.S.C. § 287.




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                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 10,600,101 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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 Dated: June 3, 2021                 Respectfully submitted,

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